Case 3:23-cv-01924-TWR-AHG Document 20 Filed 01/30/24 PageID.262 Page 1 of 4




     6 LITTLER MENDELSON PC
       MICJ:IAEL G. PEDHIRNEY (SBN 233164)
     7 E-mail: .               m
       101 Seco
     8 San Francisco, CA 94105
     9 Attol'llt?YS for Plaintiff
       Urban Therapi_es Manufacturing, LLC
    10
    11
                            UNITED STATES DISTRICT COURT
    12
    13                   SOUTHERN DISTRICT OF CALIFORNIA

    14
       URBAN THERAPIES                Case No: 3:23-cv-01924-TWR-AHG
    15 MANUFACTURING, LLC, California
       limited liability company
    16                                STIPULATION FOR DISMISSAL
                           Plaintiff, WITH AND WITHOUT PREJUDICE
    17
                    v.
    18
         NICOLE ELLIOT In Her Official         ComQlaint Filed:       October 19, 2023
    19 CapacitY, As Director Of The State Of •AC Filed:               November 17, 2023
         California's Department Of Cannabis    rial Date:            Not set
    20 Control; ROBERT BONTA In His
         Official Capacity As Attorney General
    21 · Of The State Of California; and DOES
         1-10, Inclusive,
    22
                            Defendants.
    23
    24
    25
    26
    27
    28
         --···-----------------------
                          Stipulation For Dismissal With and Without Prejudice
                                                                          3:23-cv~01924-TWR-AHG
Case 3:23-cv-01924-TWR-AHG Document 20 Filed 01/30/24 PageID.263 Page 2 of 4




     1         Plaintiff Urban Therapies Manufacturing, a California limited liability
     2   company; Nicole Elliott In Her Official Capacity As Director Of The State Of
     3   California's Department Of Cannabis Control; and Rob Bonta In His Official
     4 Capacity As Attorney General Of The State Of California, acting through their
     5 respective counset stipulate as follows:
     6         1.    Plaintiff Urban Therapies Manufacturing's First Amended Complaint
     7 against Nicole Elliott In Her Official Capacity As Director Of The State Of
     8 California's Department Of Cannabis Control, including all causes of action, is
     9   hereby dismissed without prejudice;
    10         2.    Plaintiff-qrban Therapies Manufacturing's First Amended Complaint
    11   against Rob Banta In His Official Capacity As Attorney General Of The State of
    12   California, is hereby dismissed with prejudice; and
    13         3.    Each party shall bear its own attorneys' fees and costs.
    14
    15   DATED: January 30, 2024                 AUSTIN
    16                                           By:
    17
    18
                                                 Atta ey for                    Urban Therapies
    19
                                                 Manufacturing, LLC
    20
         DATED: January 30, 2024                 AUSTIN LEGAL GROUP, APC.
    21
                                                 By:
    22
    23                                           ~~
                                                 TAMARA LEETIIAM ROZM6i
    24                                           Attorney for Plaintiff Urban Therapies
    25                                           Manufacturing, LLC

    26
    27   [Signatures continued on following page]

    28
                               Stipulation For Dismissal Without Prejudice
                                                                             3:23-cv-01924-'fWR-AHG
Case 3:23-cv-01924-TWR-AHG Document 20 Filed 01/30/24 PageID.264 Page 3 of 4




     l DATED:
     2
                ·~v~~~ ~~ 2024
     3
     4                                      GREGORY M. CRIBBS, Deputy Attorney
                                            General, for Defendants Rob Bonta,
     5                                      Attorney General of California and Nicole
     6                                      Elliott, Director of the Department o
                                            Cannabis Control
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                          Stipulation For Dismissal Without P1·ejudice
                                                                         3:23-cv-01924-TWR-AH G
  Case 3:23-cv-01924-TWR-AHG Document 20 Filed 01/30/24 PageID.265 Page 4 of 4




                                CERTIFICATE OF SERVICE

 Case Name:        Urban Therapies                            No.      3:23-cv-01924-TWR-AHG
                   Manufacturing, LLC v. DCC,
                   et al.


I hereby certify that on January 30, 2024, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
STIPULATION FOR DISMISSAL WITH AND WITHOUT PREJUDICE
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on January
30, 2024, at San Diego, California.




               Jade Levine
               Declarant                                                  Signature
